Case 8:15-cv-00192-AEP Document 133-3 Filed 05/24/17 Page 1 of 5 PageID 1855




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Case 8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document 133-3
                                103-7 Filed
                                      Filed 05/24/17
                                            03/17/17 Page
                                                     Page 2
                                                          2 of
                                                            of 5
                                                               4 PageID
                                                                 PageID 1856
                                                                        1186




                                                         AGL / BECHTEL 000001
Case
Case 8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document 133-3
                                103-7 Filed
                                      Filed 05/24/17
                                            03/17/17 Page
                                                     Page 3
                                                          3 of
                                                            of 5
                                                               4 PageID
                                                                 PageID 1857
                                                                        1187




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                                                         AGL / BECHTEL 000022
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Case 8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document 133-3
                                103-7 Filed
                                      Filed 05/24/17
                                            03/17/17 Page
                                                     Page 4
                                                          4 of
                                                            of 5
                                                               4 PageID
                                                                 PageID 1858
                                                                        1188




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Case 8:15-cv-00192-AEP Document 133-3 Filed 05/24/17 Page 5 of 5 PageID 1859




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